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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA INDICTMENT

Vv. 24 Cr.

24CRIM 708

DONOVAN HALL,

Defendant.

COUNT ONE
(Threatening Interstate Communications)

The Grand Jury charges:

1. On or about September 4, 2024, in the Southern District of New York and
elsewhere, DONOVAN HALL, the defendant, knowingly transmitted in interstate and foreign
commerce communications containing threats to injure the person of another, to wit, HALL used
a cellphone to threaten to murder an individual (“Victim-1”).

(Title 18, United States Code, Section 875(c).)

COUNT TWO
(Threatening Interstate Communications)

The Grand Jury further charges:

2. On or about October 15, 2024, in the Southern District of New York and elsewhere,
DONOVAN HALL, the defendant, knowingly transmitted in interstate and foreign commerce
communications containing threats to injure the person of another, to wit, HALL threatened
" Victim-1 and an immediate family member of Victim-1 (“Individual-1”) by sending text messages
to Victim-1, including, among other things, a photograph of HALL holding a firearm and writing

“T’ve got something for you and your inbred children,” and a second photograph of HALL holding

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a machete along with the text: “This knife is for child molesters like [Individual-1].”
(Title 18, United States Code, Section 875(c).)

COUNT THREE
(Cyberstalking)

The Grand Jury further charges:

3. From in or about August 2024 through in or about November 2024, in the Southern
District of New York and elsewhere, DONOVAN HALL, the defendant, with the intent to kill,
injure, harass, and intimidate another person, used the mail, an interactive computer service and
electronic communication service and electronic communication system of interstate commerce.
and other facilities of interstate and foreign commerce, to engage in a course of conduct that
caused, attempted to cause, or would be reasonably expected to cause substantial emotional
distress to a person, an immediate family member of that person, and a spouse or intimate partner
of that person, to wit, HALL used a cellphone to harass, intimidate, and threaten Victim-1, Victim-
1’s wife (“Victim-2”), and employees who worked at a hotel owned by Victim-1, by contacting
them hundreds of times by phone calls and text messages to communicate threatening messages

to them.

(Title 18, United States Code, Section 2261 A(2)(B).)

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~___FfOREPERSON EDWARD Y. KIM

Acting United States Attorney

